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 5   Bank of America, N.A.
 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8   LKIMMY INC. a Nevada corporation,                      Case No.: 2:20-cv-02184-RFB-VCF
 9                  Plaintiff,
                                                            STIPULATION AND [PROPOSED] ORDER
10   v.                                                     FOR EXTENSION OF TIME FOR BANK
                                                            OF AMERICA, N.A. TO FILE REPLY IN
11   BANK OF AMERICA, N.A., a national banking              SUPPORT OF MOTION TO DISMISS
     association; IL KIM aka JULIUS KIM, an
12   individual; DOES I through X; and ROE                  (First Request)
     BUSINESS ENTITIES I through X; inclusive,
13
                    Defendants.
14

15           Defendant BANK OF AMERICA, N.A. (“BANA”) and Plaintiff LKimmy, Inc. (“Plaintiff”),

16   by and through their respective counsel of record, hereby stipulate and agree to extend the deadline

17   for BANA to file a reply in support of BANA’s motion to dismiss, filed on December 7, 2020 (ECF

18   No. 4). The deadline for BANA to file its reply brief is currently set for January 12, 2021. The

19   parties hereby stipulate to extend the deadline for BANA to file its reply brief by fourteen (14) days,

20   up to and including January 26, 2021.

21           This stipulation is submitted in compliance with LR IA 6-1. Counsel for BANA requests the

22   proposed extension due to its counsel’s schedule obligations and to ensure sufficient time for counsel

23   for BANA to obtain input from BANA as to the facts and arguments set forth therein. Accordingly,

24   the parties respectfully submit that the proposed extension is supported by good cause.

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 1           The parties agree that the requested extension is not being requested in bad faith or to delay

 2   these proceedings unnecessarily.

 3           This is the first stipulation for extension of time to file a reply brief.

 4           DATED this 11th day of January, 2021.
 5                                               WILSON, ELSER, MOSKOWITZ,
                                                 EDELMAN & DICKER LLP
 6
                                                          /s/ Chad C. Butterfield
 7                                                      CHAD C. BUTTERFIELD
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 8                                                      6689 Las Vegas Blvd. South, Suite 200
                                                        Las Vegas, Nevada 89119
 9                                                      Attorneys for Defendant
                                                        Bank of America, N.A.
10

11           DATED this 11th day of January, 2021.
12                                               HONG & HONG LAW OFFICES

13                                                     /s/ Joseph Y. Hong
                                                       JOSEPH Y. HONG, ESQ.
14                                                     Nevada Bar No. 5092
                                                       1980 Festival Plaza Dr., Suite 650
15
                                                       Las Vegas, NV 89135
16                                                     Attorney for Plaintiff LKimmy, Inc.

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18
                                                      ORDER
19
             GOOD CAUSE SHOWN, IT IS SO ORDERED.
20

21           Dated this _____
                        11th day of January, 2021.

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                                                     ________________________________________
24                                                   UNITED STATES DISTRICT JUDGE
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